       Case 2:18-cv-00160-MO   Document 210   Filed 11/30/21    Page 1 of 2




                   IN THE UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF OREGON


FINICUM, et al.,
            Plaintiffs,
                                               Case No. 2:18-cv-00160
      vs.

UNITED STATES OF AMERICA, et al.,
          Defendants.



                            NOTICE OF APPEAL



                                     J. Morgan Philpot (Oregon Bar No. 144811)
                                     morgan@jmphilpot.com
                                     JM PHILPOT LAW, PLLC
                                     620 East 100 North
                                     Alpine, UT 84004
                                     (801) 891-4499
                                     Attorney for Plaintiffs
    Case 2:18-cv-00160-MO     Document 210    Filed 11/30/21   Page 2 of 2




      Pursuant to Federal Rule of Appellate Procedure 4(b), notice is hereby

given that Plaintiffs, hereby appeal to the United States Court of Appeals for

the Ninth Circuit from the Judgment and Dismissal issued by the United

States District Court for the District of Oregon by Judge Michael W. Mosman.



   Date: November 30, 2021                   Respectfully Submitted,

                                           /s/ J. Morgan Philpot
                                           J. Morgan Philpot, Esq.
                                           OSB #144811Attorney for
                                           Plaintiffs




                                      1
